Case 3:10-cv-01531-FLW-TJB Document 1 Filed 03/25/10 Page 1 of 8 PageID: 1
Case 3:10-cv-01531-FLW-TJB Document 1 Filed 03/25/10 Page 2 of 8 PageID: 2
Case 3:10-cv-01531-FLW-TJB Document 1 Filed 03/25/10 Page 3 of 8 PageID: 3
Case 3:10-cv-01531-FLW-TJB Document 1 Filed 03/25/10 Page 4 of 8 PageID: 4
Case 3:10-cv-01531-FLW-TJB Document 1 Filed 03/25/10 Page 5 of 8 PageID: 5
Case 3:10-cv-01531-FLW-TJB Document 1 Filed 03/25/10 Page 6 of 8 PageID: 6
Case 3:10-cv-01531-FLW-TJB Document 1 Filed 03/25/10 Page 7 of 8 PageID: 7
Case 3:10-cv-01531-FLW-TJB Document 1 Filed 03/25/10 Page 8 of 8 PageID: 8
